Case 2:17-cv-12862-AJT-MKM ECF No. 61 filed 09/14/18       PageID.463      Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

BRYAN CARY,
                                                  Case No. 17-12862
             Plaintiff,
v.                                                SENIOR U.S. DISTRICT JUDGE
                                                  ARTHUR J. TARNOW
TIMOTHY MOX, ET AL.,
                                                  U.S. MAGISTRATE JUDGE
             Defendants.                          MONA K. MAJZOUB
                                       /

ORDER ADOPTING REPORT AND RECOMMENDATION [59]; DENYING PLAINTIFF’S
MOTIONS FOR TRO [17, 25]; DENYING PLAINTIFF’S MOTIONS FOR JOINDER [18,
  22]; GRANTING DEFENDANTS’ MOTION TO DISMISS AND/OR FOR SUMMARY
 JUDGMENT [28]; AND DISMISSING DEFENDANT DEPUTY DIRECTOR OF MDOC

      On August 22, 2017, Plaintiff Bryan Cary filed this prisoner civil rights

action pursuant to 42 U.S.C. § 1983 against Defendants Corrections Officer

Timothy Mox, Special Activities Coordinator David Leach, Director of the

Michigan Department of Corrections (“MDOC”) Heidi Washington, and the

Deputy Director of MDOC. On August 14, 2018, the Magistrate Judge issued a

Report and Recommendation (“R&R”) [59] recommending that the Court: deny

Plaintiff’s Motions for TRO and Preliminary Injunction [17, 25] and for Joinder of

Parties and Claims [18, 22]; grant Defendants Washington and Leach’s Motion to

Dismiss and/or for Summary Judgment [28] based on failure to exhaust

administrative remedies; and dismiss Defendant Deputy Director of MDOC for

lack of proper service. Neither party has filed an objection to the R&R.

                                    Page 1 of 2
Case 2:17-cv-12862-AJT-MKM ECF No. 61 filed 09/14/18        PageID.464   Page 2 of 2



      The Court having reviewed the record, the R&R [59] is hereby ADOPTED

and entered as the findings and conclusions of the Court.

      Accordingly,

      IT IS ORDERED that Plaintiff’s Motion for TRO and Preliminary

Injunction [17] is DENIED.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for Joinder of Parties

and Claims [18] is DENIED.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for Joinder of Parties

and Claims [22] is DENIED.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for TRO and

Preliminary Injunction [25] is DENIED.

      IT IS FURTHER ORDERED that Defendants Washington and Leach’s

Motion to Dismiss and/or for Summary Judgment [28] is GRANTED.

      IT IS FURTHER ORDERED that Defendants Washington, Leach, and

Deputy Director of MDOC are DISMISSED.

      SO ORDERED.


                                      s/Arthur J. Tarnow
                                      Arthur J. Tarnow
Dated: September 14, 2018             Senior United States District Judge




                                    Page 2 of 2
